                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                NORTHERN DIVISION

JUSTIN C. NELSON,                   :
                                    :
            Plaintiff,              :
                                    :                CIVIL ACTION FILE
v.                                  :                NO: 3:14-cv-583
                                    :
CERTAIN UNDERWRITERS AT             :
LLOYD’S, LONDON SUBSCRIBING         :
TO POLICY NUMBER AVAC046891, :
                                    :
            Defendants.             :
____________________________________:

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1446 (a), et seq., Certain Underwriters at Lloyd’s, London

(“Defendants” or “Underwriters”), subscribing to Policy Number AVAC046891 (“Policy”) file

this Notice of Removal in the United States District Court for the Eastern District of Tennessee,

Northern Division, on the following grounds:

                                                1.

       Plaintiff Justin C. Nelson (“Plaintiff”) has brought a civil action in the Jefferson County

Circuit Court, Dandridge, Tennessee, styled Justin C. Nelson v. Underwriters at Lloyd’s,

London, Case Number 24142-IV (“Complaint”).

                                                2.

       Defendants Underwriters subscribing to Policy Number AVAC046891 were served with

the Complaint and Summons through their registered agent, Mendes and Mount, LLP on or

around November 17, 2014. (A true and correct copy of Complaint and Summons served to date

in the civil action are collectively attached to this Notice of Removal as required by 28 U.S.C. §




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1446 (a) hereto as Exhibit “A.”) The Complaint seeks $175,000 in compensatory damages and

$1,400,000 in punitive damages.

                                                    3.

       Exhibit “A” comprises all the documents of which Defendants are aware that are either

filed or served upon them in this matter to date.

                                                    4.

       Plaintiff is a resident of Jefferson County, Tennessee. At all times relevant hereto,

Plaintiff was the owner of the property at issue, located at 1321 West Old A J Highway, New

Market, Jefferson County, Tennessee (“Property”).

                                                    5.

       Defendants are a foreign association of insurers whose principal place of business is

located in London, England, United Kingdom.

                                                    6.

       Because the parties are completely diverse and the amount in controversy exceeds the

sum of $75,000, jurisdiction is founded on diversity of citizenship pursuant to 28 U.S.C. §1332.

                                                    7.

       Defendants’ removal in this civil action is timely pursuant to U.S.C. § 1446 (b)(1) in that

less than thirty (30) days have elapsed since Defendants received a copy of the summons and

complaint by service. See Murphy Bros. Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-

48 (1999).

                                                    8.

       Defendants are timely providing written Notice of Removal of the civil action to Plaintiff

and are filing a copy of the Notice with the Clerk of the Circuit Court in which the action is




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pending.   (A true and correct copy of Defendants’ Notice of Filing of Removal, which

Defendants are filing in the State Court, is attached hereto as Exhibit “B”.)

       WHEREFORE, Defendants respectfully request that Case Number 24142-IV, currently

pending in the Jefferson County Circuit Court, Dandridge, Tennessee be removed to the United

States District Court for the Eastern District of Tennessee, Knoxville Division.

       Respectfully submitted this 15th day of December 2014.



                                                      /s/ Renee Levay Stewart
                                                     Renee Levay Stewart
                                                     TN Bar No. 18768
                                                     NORTH, PURSELL & RAMOS, PLC
                                                     414 Union Street
                                                     Suite 1850
                                                     Nashville, TN 37219
                                                     PH: (615) 255-2555
                                                     FX: (615) 255-0032
                                                     rlstewart@nprattorneys.com

                                                     /s/ Nanette L. Wesley
                                                     NANETTE L. WESLEY (Admission to the
                                                     Eastern District of Tennessee Pro Hac Vice To Be
                                                     Filed)
                                                     Tennessee State Bar No: 19197
                                                     Wesley Holladay, LLC
                                                     2974 Lookout Place NE
                                                     Atlanta, Georgia 30305
                                                     PH (678) 686-2980; FX (678) 686-2981
                                                     nwesley@wesleyfirm.com
                                                     Attorneys for Defendants




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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

JUSTIN C. NELSON                    :
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            Plaintiff,              :
                                    :            CIVIL ACTION FILE
v.                                  :            NO: _____________
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CERTAIN UNDERWRITERS AT             :
LLOYD’S, LONDON SUBSCRIBING         :
TO POLICY NUMBER AVAC046891         :
                                    :
            Defendants.             :
____________________________________:


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this date served a copy of the foregoing NOTICE OF

REMOVAL, by depositing a true and correct copy of same in the United States Mail, with

adequate postage thereon, and via electronic filing, and addressed to counsel of record as

follows:

                                J. Brandon McWherter, Esq.
                      Gilbert Russell McWherter Scott & Bobbitt, PLC
                                341 Cool Springs Boulevard
                                          Suite 230
                                     Franklin, TN 37067

                                   Clinton H. Scott, Esq.
                      Gilbert Russell McWherter Scott & Bobbitt, PLC
                                   101 N. Highland Ave.
                                     Jackson, TN 38301


       Respectfully submitted this 15th day of December 2014.



                                                 /s/ Renee Levay Stewart
                                                 Renee Levay Stewart



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                                         Eastern District of Tennessee Pro Hac Vice To Be
                                         Filed)
                                         Tennessee State Bar No: 19197
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                                         Counsel for Defendants




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